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                                   IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF MARYLAND
City of Annapolis, Maryland
                                                        *
      Plaintiff,
                                                        *
      v.                                                               Case No.   21-cv-00772
                                                        *
BP P.L.C.
      Defendant.                                        *

                                   ENTRY OF APPEARANCE IN A CIVIL CASE

TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD:
                                                                       CNX Resources Corporation
             Enter my appearance as counsel in this case for the _______________________________

             I certify that I am admitted to practice in this Court.


5/25/2022                                                     /s/ Noel J. Francisco
Date                                                        Signature
                                                             Noel J. Francisco, Bar No. 28961
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EntryofAppearanceCivil (08/2015)
